                     Case 1:21-cr-00208-JKB Document 29 Filed 06/07/22 Page 1 of 2




                        04        &u)       {4*     4-/
                                                                 I              I
                                                                                u

USDC- BALTI}'IORE
 '22 JIIN ? px3:24                  A4\- fu),'o1                                          fu'-
                                                  g*-                       (


                              4                                                      to




                                                              ba-
                                     c -, &-u^
                                  ,+.-                                          (ro
                                                                          /VJ'Aep
                 /t-                                                           L/,4/
                 w
                 a-.
                                                                     *L                   lr-
                     Case 1:21-cr-00208-JKB Document 29 Filed 06/07/22 Page 2 of 2




                       )u^e I, 2022




                       Eonnie Geyer




USDC. BALTI}'iORE
 '22 JUN ? Pil3:24     TO


                       The Honorable lud8e

                       RE: Barak Olds




                       Yout l-lo nor,

                       Thank you for taking a moment to read a note from me on behalf of Barak Olds



                       I have known Barak for 8 year5, I have found him to be a very respectfirl, kind & helpfulyoun8 man

                       I met Earak thru his mother. We work together and I have com€ (o know al her children

                       Earak has been thru rruch adversity in his life, and I know hirr to be a Sood person. He is always
                       respectful when I have been with him. i know he i5 working hard to tet his llfe back on track.



                       I appreciate your tlme and hope that Barak can soon gel that chance to stan freJh




                       Respectfully,


                                             /'
                             Utu,n<)       L),
                       Bonnie Geyer
